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                     IN THE UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

In Re:
CHRIS E. CARHART                            Case No. 9:16-bk-06499-FMD

                  Debtor
______________________________/

                              TRUSTEE’S REPORT OF SALE

       The undersigned Trustee of the estate of the above-named Debtor reports as follows:

       1.    On April 19, 2018, the Trustee filed a Motion to Sell Property of the Estate (3512
White Eagle Drive, Naperville, Illinois).

       2.      On May 17, 2018, the Court entered an Order Granting the Motion to Sell
Property of the Estate.

       3.     The Trustee has received the sales proceeds.

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
electronically to the Assistant U.S. Trustee, 501 E. Polk Street, Suite 1200, Tampa, FL 33602
this 7th day of June 2018.

                                            /s/ Robert E. Tardif Jr.
                                            Robert E. Tardif Jr., Trustee
                                            Post Office Box 2140
                                            Fort Myers, FL 33902
                                            (239) 362-2755
                                            (239) 362-2756 (facsimile)
                                            rtardif@comcast.net
